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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

    In re:                                              §
                                                        §     Case No. 22-33553 (CML)
    Alexander E. Jones,                                 §
                                                        §     Chapter 11
        Debtor.                                         §
                                                        §

                     STATEMENT OF THE TEXAS FAMILIES
             IN SUPPORT OF CONVERSION OF JONES’S CHAPTER 11
         CASE TO A CASE UNDER CHAPTER 7 OF THE BANKRUPTCY CODE


        The Texas Families,1 as creditors and parties in interest in the above-captioned case (the

“Jones Case”) proceeding under chapter 11 of the Bankruptcy Code, respectfully submit this

statement (the “Statement”) in support of conversion of the Jones Case, as requested by the

Debtor’s Emergency Motion for Entry of an Order Converting Debtor’s Chapter 11 Case to a

Case Under Chapter 7 of the Bankruptcy Code (the “Motion”). Upon the Court’s consideration

of the Motion, the Texas Families hereby request that any order approving the Motion be

substantially in the form of the order attached as Exhibit A to the Notice of Filing of Supporting

Parties’ Conversion Order [ECF No. 698] (the “Proposed Order”), rather than the form attached

to the Motion, as the Proposed Order provides additional protections for the benefit of the estate

and its creditors.

                                             BACKGROUND

        1.        On June 5, 2024, the Debtor filed his Motion [ECF No. 684], seeking conversion

of this case to Chapter 7.

        2.        The Texas Families have reviewed and approved the Proposed Order.



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 The “Texas Families” are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and the Estate of
Marcel Fontaine.

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                                            STATEMENT

        3.      While the Texas Families firmly believe conversion is warranted and is in the best

interests of Jones’s estate and all creditors, by supporting the Proposed Order, the Texas Families

request the inclusion of certain provisions that would ensure an efficient and orderly wind down

of Jones’s estate in a manner that ensures the preservation of valuable estate assets and maximizes

creditor recoveries because, in comparison with the proposed order filed by the Debtor in

conjunction with his Motion, the Proposed Order provides additional protections designed to

(i) ensure the prompt election of a chapter 7 trustee to safeguard assets for the benefit of the estate;

(ii) facilitate a chapter 7 trustee’s ability to pursue estate claims and causes of action efficiently

and effectively; and (iii) clarify that certain assets constitute property of the estate.

                                               NOTICE

        4.      Notice of this Statement will be served via ECF.

                                  RESERVATION OF RIGHTS

        5.      For the avoidance of doubt, the Texas Families reserve their rights to amend or

supplement this Statement on any basis and reserve all rights and remedies with respect to the

Motion and otherwise in the Jones Case.

                                           CONCLUSION

        WHEREFORE, the Texas Families requests that this Court enter the Proposed Order

converting the Jones Case to a case under chapter 7 and granting such other relief as may be

appropriate under the circumstances.

Dated: June 12, 2024




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Respectfully Submitted,

 /s/ Jarrod Martin
 CHAMBERLAIN, HRDLICKA,
 WHITE, WILLIAMS & AUGHTRY, PC
 Jarrod B. Martin
 State Bar No. 24070221
 1200 Smith Street, Suite 1400
 Houston, TX 77002
 Telephone: (713) 356-1280
 Fax: (713) 658-2553
 E-mail: jarrod.martin@chamberlainlaw.com

 LAWSON & MOSHENBERG PLLC
 Avi Moshenberg
 State Bar No. 24083532
 801 Travis Street, Suite 2101, #838
 Houston, TX 77002
 Telephone: (713) 449-9644
 E-mail: avi.moshenberg@lmbusinesslaw.com

 WILLKIE FARR & GALLAGHER LLP
 Jennifer J. Hardy
 State Bar No. 24096068
 600 Travis Street
 Houston, TX 77002
 Telephone: (713) 510-1766
 Fax: (713) 510-1799
 E-mail: jhardy2@willkie.com

 WILLKIE FARR & GALLAGHER LLP
 Rachel C. Strickland (admitted pro hac vice)
 Stuart R. Lombardi (admitted pro hac vice)
 Ciara A. Sisco (admitted pro hac vice)
 787 Seventh Avenue
 New York, NY 10019
 Telephone: (212) 728-8000
 Fax: (212) 728-8111
 E-mail: rstrickland@willkie.com
 E-mail: slombardi@willkie.com
 E-mail: csisco@willkie.com

 Co-Counsel to the Texas Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Statement has been served on
Jones’s counsel, Jones, and all parties receiving or entitled to notice through CM/ECF on this 12th
day of June, 2024.

                                                     /s/ Jarrod Martin
                                                     Jarrod Martin




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